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(Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page 10f16 Page ID

Stefan Mahaley ono
1660 Gala Ave a
Fontana, California 92337

Tel: 310-773-3090

E-mail: smahaley@sbcglobal.net

iN39

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UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

ED CV 12 - 014615

Case No.:

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STEFAN MAHALEY,
COMPLAINT FOR DAMAGES

Plaintiff, CIVIL RIGHTS VIOLATIONS

vs.

MICHAEL BAKER #270492

4375 Jutland Drive Suite 200
San Diego, California 92177- ——
0934 : ‘

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)
)
)
)
)
)
)
)

DIANA SUMMERHAYES
200 West Compton Blvd
Compton, California 90220
. ty &
roe :
CITY OF COMPTON . .. RIAL BY JURY DEMANDED HEREIN
205 S Willowbrook. Avenu™ =

‘
Compton, Calif}rria 90220

DONNA SEYEDI # 269831 oe
1617 Wollacott St at ‘
Redondo, California 490278, 4 ma;

PO Bea

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Defendants

 

INTRODUCTION AND OPENING STATEMENT
This is an action brought by*Stefan Mahaley against State
Officialsacting under the color of Law, for civil rights

violations involving due process of Law.

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 1 /

 

 

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Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page 2o0f16 Page ID #:

At all times relevant herein the Defendants, including
State Officials and certain private attorney’s acting under the
color of Law and outside the scope of their jurisdiction and
authority, willfully caused Plaintiff a damage and in so doing,
violated clearly established law, as those laws apply to
Plaintiff's rights protected under the Bill of Rights,
particularly under the, 6th, and 9th Amendments and Article 6.

Be it known, each of the state officials herein have sworn
an "oath of office" in regards to their duties and therefore
each of their acts under "color" of state law is in direct
violation of their oath of office and equates to CRIMINAL
CONSPIRACY under section 1985. Defendant Diana Summerhayes
actions are tantamount to nothing less than CRIMINAL TREASON
against the united States Constitution and the People of the
United States.

I. JURISDICTION and VENUE
1. Plaintiff brings this action pursuant to sections 1983, 1985,
1986, and 1988, and invokes the jurisdiction of this court
pursuant to Title 1 28 USC Section 1343 (A)(3) (4), Section
1331, and pursuant to the 14th Amendment, Title 42 USC Section
1983, and the Civil Rights Act of 1870. At all times relevant,
all of the causes of action were committed within the
geographical jurisdiction of this court.

II. PARTIES

2. Plaintiff, Stefan Mahaley, herein after "Mahaley", at all
times relevant herein, lives in the city of Fontana, California.
3. Defendant Michael M. Baker, #27049, herein after "Baker", at

all times relevant to this complaint, was acting as a State

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 2

 

 
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employee, compensated, enriched , and rewarded Attorney for the
state bar of California. Baker is being sued individually and in
his official capacity.
4. Defendant Diana Summerhayes, hereinafter "Summerhayes" at all
times relevant to this complaint, was acting as a duly elected
official and was employed, compensated, enriched, and rewarded
performing her duties as a Commissioner. Summerhayes is being
sued individually and in her official capacity.
5. Defendant City of Compton, (hereinafter City C) is a
municipal corporation within the State of California. At all
time relevant to this complaint it is either directly or
indirectly trained, controlled, made policy for, employed,
supervised, compensated, enriched, or rewarded some or all of
the other defendants for their actions on June 25, 2012. The
City C is being sued as a person.
6. Defendant Donna Seyedi, hereinafter “Seyedi” at all times
relevant to this complaint, was acting as a State employee,
compensated, enriched, and rewarded Attorney for the state bar
of California. Seyedi is being sued individually and in her
official capacity.

IIIT STATEMENT OF FACTS
7. All events depicted herein occurred on June 25, 2012, unless
otherwise stated
8. On or about July 24, 2011 defendant, Baker, sent a demand
letter.
9. Stefan Mahaley has never entered into any agreements with

MICHAEL M. BAKER, or THE BANK OF NEW YORK MELLON.

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 3

 

 

 
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Case 5:12-cv-01461-PSG-OP Document 1 Filed 08/29/12 Page 4of16 Page ID #:

10. Stefan Mahaley has never sought nor enjoyed a “loan
application/agreement” with MICHAEL M. BAKER, or THE BANK OF NEW
YORK MELLON.
ll. Stefan Mahaley does not owe any money to MICHAEL M BAKER, or
THE BANK OF NEW YORK MELLON.
12. Stefan Mahaley has never enjoyed any benefits or services
given or sold by MICHAEL M. BAKER MIELE, or THE BANK OF NEW YORK
MELLON.
13. Plaintiff Stefan Mahaley had a reasonable expectation that
defendant “Summerhayes” should have known that the court did not
have jurisdiction over the subject matter to hear the case.
14. Defendant Summerhayes knew or should of known she was
violating clearly established law.
15. As a proximate and direct result of the actions of
defendants herein, Stefan Mahaley rights were knowingly violated
in direct violation of clearly established Federal law.
16. At all times herein, the defendants were acting under color
of state law.
17. All of the Defendants, at all times related herein, acted
"in concert" showing a deliberate indifference towards Mahaley
and Mahaley’s rights protected, and guaranteed, by the Bill of
Rights, with the direct intent and sole purpose of damaging,
defrauding, mental anguish of Mahaley. As a direct and/or
proximate result of Defendants actions, Mahaley is seeking an
additional $50,000.00 per day for punitive damages.

FEDERAL CAUSES OF ACTION
18. All allegations set forth in paragraph 1 through 17 are

incorporated herein by reference.

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 4

 

 
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(Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page5of16 Page ID #:5

19. The herein described actions, engaged in under color of
state authority by the Defendants, including Defendant City C,
sued a person, responsible because of its authorization
condonation, and ratification thereof for the acts of its public
officials, agents, and servants, deprived the Plaintiff of
rights secured to him by the Bill of Rights, including, but not
limited to, his sixth amendment right to be confronted with the
witness against him, his ninth amendment rights shall not be
construed to deny or disparage others retained by the people.
Defendant(s) perjured their oaths pursuant to Article 6 of the
united States Constitution.
FIRST CAUSE
20. Plaintiff’s Sixth Amendment right to be confronted with the
witness against him was denied by defendants without due process
of law.
SECOND CAUSE
21. Plaintiff Ninth Amendment rights shall not be construed to
deny or disparage others retained by the people was denied by
defendants without due process of law.
| THIRD CAUSE
22. Defendants perjured their oaths pursuant to Article 6 by
refusal to honor/uphold their said Oath(s) pursuant to united
States and state Constitutions.
WHEREFORE Stefan Mahaley demands judgment against the
defendants, jointly and severally, as follows:
a. aS compensatory damages, the sum of $4,584,000.00
b. as punitive damages, the sum of $4,584,000.00;

c. all costs and disbursements of this action;

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 5

 

 

 
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da. all attorney's fees incurred in prosecuting this action
pursuant to 42 U.S.C. 1988;
e. the right to amend this complaint as warranted by

further evidence and fact finding;

f. and other such further relief as to the Court seems
proper.
“TRIAL BY JURY IS HEREBY DEMANDED”
Dated this 29th Day of August 2012 Respectfully submitted,

   

Stefan Mahaley 7
1660 Gala Ave

Fontana,California 92337

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 6

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(Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page 7 of 16 Page ID #:]

OFFICIAL ACTION

Monell v. New York City Dept. of Social Service, 436 U.S 658
(1978).
Owen v. City of Independence, Missouri, Et Al, 445 U.S. 622

(1980).

A. Official Policy
Owen v. City of Independence, Missouri, Et Al, 445 U.S. 622
(1980).
Families Unides v. Briscoe, 619 F.2d 391, 404 (5th 1980)
Van Ooteghem v. Gray, 628 F. 2d 488, 494-495 (5th Ci 1980)

B. Ratification
Owen v. City of Independence, Missouri, Et Al, 445 U.S. 622
(1980).
Turpin v. Mallet, 619 F.2d 196. 200, (2d Cir. 1980)

DAMAGES

Halperin v Kissinger, 606 F. 2d 1192 (D.C. Cir. 1979)
Bivens v. Six Unknown Named Agents of the Federal Bureau
Narcotics, 403 U.S.

388, 397, 91 S. Ct. 1999, 2005, 29 L. 1919 (1971).

C. Compensation to be determine under tort law.

Sullivan v. Little Hunting Park, Inc., 396 U.S. 229 S.ct
400, 24 L. Ed. 2d 386 (1969).

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 7

 

 

 
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(ase 5:12-cv-01461-PSG-OP Document 1 Filed 08/29/12 Page 8of16 Page ID #§

VERIFICATION

State of California }
) SS.
County of Los Angeles )

Your Affiant, Stefan Mahaley, in the attached Complaint for
Damages, does affirm by his signature hereon, the facts and
allege therein and further affirm said facts and allegations to
be true and correct to the best of my knowledge and belief so
help me God.

Yo 28-12

Signature Date

State of California )

County of Los Angeles )

Subscribed and sworn no ° She affirmed) before me, on this Z&Ih

day of August, 2012, tefen Wir. haley , proven
to me on the basis fe satisfactory evidence to be the personfg)

who appeared before me.

Koby Wo»¥ ER ror

Notary Sigkd ture

 
 
 
 

   

ROBIN J. FOSSELMAN
Commission # 1894853
Notary Public - California =

Los Angeles County =

My Comm. Expires Au 3, 2014

   

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 8

 

 

 
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ATTACHED

“AFFIDAVIT’ S”

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 9

 

 

 
Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page 10o0f16 Page ID#:10

AFFIDAVIT OF STEFAN MAHALEY

State of California )
DSS:
County of Los Angeles )

Comes now, Stefan Mahaley, sui juris, and after being duly sworn according to law, states that he is
your affiant, that as your affiant he has first hand knowledge of the facts herein and believes these
facts to be true the best of his belief and knowledge.

1. On July 24, 2012 your affiant received a summons from MICHAEL M. BAKER and THE BANK
OF NEWYORK MELLON, filed June 25, 2012.

2. Your affiant never entered into any agreements with MICHAEL M. BAKER, or THE BANK OF .
NEW YORK MELLON.

3. Your affiant never sought nor enjoyed a “loan application/agreement” with MICHAEL M.
BAKER, or THE BANK OF NEW YORK MELLON.

4. Your affiant does not owe any money to MICHAEL M. BAKER, or THE BANK OF NEW
YORK MELLON.

5. Your affiant never enjoyed any benefits or services given or sold by MICHAEL M. BAKER
WALSH, or THE BANK OF MELLON.

Further Affiant Sayeth Nought. | ah,
bt ly

‘Stefan Mahaley
State of Califor mwa
County of [og Angeles

Subscribed and sworn to (ef affirthed) before me Sohn Ota: ad G&_on this CP bay of

July, 20 b efan 'Mahaley, proved to me on the basis of satisfactory evidence to be the person(s¥ who

a > JOHN C. PLANTADA

i ff ims Commission # 1956317
Oty Public (Seal) i f} Notary Public - California
Was Los Angetes County

 

    
Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page11o0f16 Page ID#11

AFFIDAVIT OF WALLACE JONES

State of California 2

Ds:

County of Los Angeles)

Comes now, Wallace Jones, sui juris, and after being duly sworn according to law, states
that he is your affiant, that as your affiant he has first hand knowledge of the facts
herein and believes these facts to be true the best of his belief and knowledge.

 

1. On August 17, 2012 at or around 9:30 am your affiant | witnessed public servant

Commissioner, Diana Summerhayes, commit perjury against her Oath of Office

at 200 West Compton § Blvd Compton, CA 90205.
2. Your affiant witnessed Diana Summerhayes, deny Defendant, Stefan Mahaley the

right to be confronted with the accuser/witness against him.

3. Your a affiant witnessed Diana Summerhayes deny Defendant Sefan Mahaley
provisions of the Constitution which she took a sworn oath to uphold.
The Court lacked Jurisdiction over the sub ject matter to hear the case.

Date

Full Name~

State of "oe
) SS.

County of Los ametcs)

Subscribed and sworn to (or affirmed) before me on this 2? day of August, 2012

by Wallace Jones, proved to me on the basis of satisfactory evidence to be the person(s)
appedred before ine.

Li we f hi bhi — —(Seal)

Notary Public

  
     
 

=r, LOUIS M. WILLIAMS ®
»-COMM. #1961702

=~

  

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Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page12o0f16 Page ID #12

AFFIDAVIT OF ARMANDO PEREZ

State of caifomia An |
Ss:
8 ] a el} by

County of S

Comes now, Armando Perez, sui juris, your Affiant, being competent to testify and being
over the age of 21 years of age, after first being duly sworn according to law to tell the truth to
the facts related herein states that he has-firsthand knowledge of the facts stated herein and
believes these facts to be true to the best of his knowledge.

e On or about August 17, 2012 at approximately 9:30 am your affiant witnessed public
servant Commissioner Diana Summerhayes, commit perjury against her Oath of Office at
200.West Compton Blvd Compton, CA 90205.

¢ Your affiant witnessed Diana Summerhayes; deny Defendant, Stefan Mahaley the right
to be confronted by the accuser or witness against him.

e Your affiant witnessed Diana Summerhayes, deny Defendant Stefan Mahaley provisions
of the Constitution which she sworn an oath to uphold.

e The Court lacked subject matter jurisdiction to even hear the case.

Further Affiant Sayeth Naught

flan $-27-Qo ia

 

 

 

Armando Perez Date
JURAT
State of California | )
o> Fel es
County of SamBeraardin L )
Before me, Ls L we | b¢ a Notary Public duly authorized by the State of

California, personally appeared Armando Perez, a 1 ng man who has sworn to and subscribed in
my presence, the foregoing document, on this ” !\' day of August in the Year 2012.

PCIe

Notary Public

Commission Expires \a b lS (Seal)

1 f Sm MICHAEL ROSEN
Gases COMM. #1934031 =

#)) NOTARY PUBLIC - CALIFORNIA =
ai) LOS ANGELES COUNTY
My Comm. Expires May 23, 2015

aa Adttde

  
Case 5:12-cv-Oi#fip SACHS BIsPUCT COURT, GENIRAB MSTRICTRRNCALIFORNIA Page ID #:13

 

CIVIL COVER SHEET
I (a) PLAINTIFFS (Check box if you are representing yourself w) DEFENDANTS
Stefan Mahaley SEE ATTACHED DEFENDANT LIST

 

(b) Attorneys (Firm Name, Address and Telephone Number. If you are representing Attomeys (If Known)

 

 

If, i .
yourself, provide same.) UU-NKNOWN
16601 Gala Ave.
Fontana, California 92337
IL. BASIS OF JURISDICTION (Place an X in one box only.) UL. CITIZENSHIP OF PRINCIPAL PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant.)
uw 1 U.S. Government Plaintiff 113 Federal Question (U.S. PTF DEF PTF DEF
Government Not a Party) Citizen of This State Ot C1 Incorporated or Principal Place O4 14
of Business in this State
(12US. Government Defendant 4 Diversity (Indicate Citizenship | Citizen of Another State O2 12 Incorporated and Principal Plaee O15 O85
of Parties in Item IID) of Business in Another State
Citizen or Subject of a Foreign County 3 03 Foreign Nation O06 O6

 

 

IV. ORIGIN (Place an X in one box only.)

al Original (12 Removed from (13 Remanded from (14 Reinstated or (15 Transferred from another district (specify): (6 Multi- 07 Appeal to District

Proceeding State Court Appellate Court Reopened District Judge from
Litigation Magistrate Judge

V. REQUESTED IN COMPLAINT: JURY DEMAND: W Yes (No (Check ‘Yes’ only if demanded in complaint.)
CLASS ACTION under FRCP. 23: DYes WNo , & MONEY DEMANDED IN COMPLAINT: $ 9,168,000.00
VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

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VII. NATURE OF SUIT (Place an X in one box only.)

 
       

  
 
 

 

   
 

 

 
 

 

 
  
 

        

 

 

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Antitrust 0 120 Marine Irplane \ ‘otions to Act
(1430 Banks and Banking ~~ |[1 130 Miller Act (1315 Airplane Product 0 370 Other Fraud Vacate Sentence }1 720 Labor/Mgmt.
0450 Commerce/ICC 0 140 Negotiable Instrument Liability 0371 Truth in Lending Habeas Corpus Relations
Rates/etc. (3 150 Recovery of 1320 Assault, Libel & §7 380 Other Personal |0 530 General 01730 Labor/Mgmt.
C1460 Deportation Overpayment & Slander : Property Damage [0 535 Death Penalty Reporting &
(1470 Racketeer Influenced Enforcement of 11330 abi ers 111 385 Property Damage JU 540 Mandamus/ Disclosure Act
and Corrupt Judgment : ty Other 0740 Railway Labor Act
Organizations 0151 Medicare Act Saas vene product "10 550 Civil Rights | 790 Other Labor
£1480 Consumer Credit (1 152 Recovery of Defaulted Liability ¢ 0.555 Prison Condition Litigation
O80 ene ; Student Loan (Excl. [350 Motor Vehicle 1493. Withdrawal 28 : Empl. Ret. Inc.
elective Service Veterans) 11355 Motor Vehicle ithdrawa PENS
1) 850 Securities/Commodities/]0 153 Recovery of Product Liability |, USC 157 Agriculture LOR!
Exchange Overpayment of [0360 Other Personal 11620 Other Food &  |(1 820 Copyrights
(1875 Customer Challenge 12 Veteran’s Benefits Injury 1441 Voting Drug (1 830 Patent
USC 3410 (1160 Stockholders’ Suits (362 Personal Injury. |U 442 Employment 01625 Drug Related 0840 Trademark
0 890 Other Statutory Actions {0 190 Other Contract Med Malpractice 0 443 Housing/Acco- Seizure of 80Ch RI
0891 Agricultural Act 195 Contract Product (0365 Personal Injury- mmodations Property 21 USC | 861 HIA (1395ff)
0 892 Economic Stabilization Liability Product Liability [[1444 Welfare 881 D 862 Black Lung (923)
Act chise (9368 Asbestos Personal [0.445 Americanwith {0 630 Liquor Laws 0 863 DIWC/DIWW
(893 Environmental Matters |: SPROE Injury Product Disabilities - 0640 RR. & Truck (405(g))
(894 Energy Allocation Act o 210 Land Condemnation ane Liability = Employment 0 650 Airline Regs 0 864 SSID Title XVI
0 895 Freedom of Info. Act 0220 Foreclosure oo EK 10446 Americanwith {11 660 Occupational RSI (405(g
(900 Appeal of Fee Determi- |[1 230 Rent Lease & Ejectment |] 462 Naturalization Disabilities - Safety /Health |e sus
nation Under Equal [1240 Torts to Land Application Other 0690 Other 11870 Taxes (U.S. Plaintiff
Access to Justice (1245 Tort Product Liability {0463 Habeas Corpus- 440 Other Civil or Defendant)
11950 Constitutionality of  |0290 All Other Real Property Alien Detainee Rights (1871 IRS-Third Party 26
State Statutes 0465 auler Immigration USC 7609
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FOR OFFICE USE ONLY: — Case Number:

AFTER COMPLETING THE FRONT SIDE OF FORM CV-71, COMPLETE THE INFORMATION REQUESTED BELOW.

CV-71 (05/08) CIVIL COVER SHEET : AUG 2 9 2012; Page 1 of 2

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. Case 5:12-cV-QAvifids BB Gr@ Bisa COURT, CEKARRBDISHCITRIEMLAFORNA Page ID #:14

CIVIL COVER SHEET

VIII(a). IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? WNo O Yes
If yes, list case number(s):

VIIK(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? No 0 Yes
If yes, list case number(s):

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes that apply) (A. Arise from the same or closely related transactions, happenings, or events, or
CB. Call for determination of the same or substantially related or similar questions of law and fact, or
COC. For other reasons would entail substantial duplication of labor if heard by different judges, or
1D. Involve the same patent, trademark or copyright, and one of the factors identified above ina, b or c also is present.

 

IX. VENUE: (When completing the following information, use an additional sheet if necessary.)

(a) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH named plaintiff resides.
[1 Check here if the government, its agencies or employees is a named plaintiff. If this box is checked, go to item (b).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

RIVERSIDE LOS ANGELES

 

 

 

 

(b) List the County in this District, California County outside of this District, State if other than California; or Foreign Country, in which EACH named defendant resides.
Check here if the government, its agencies or employees is a named defendant. If this box is checked, go to item (c).

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

 

Los AN GEC ES, COvnwT7

 

 

(c) List the County in this District, California County outside of this District; State if other than California; or Foreign Country, in which EACH claim arose.
Note: In land condemnation cases, use the location of the tract of land involved.

 

County in this District:* California County outside of this District; State, if other than California; or Foreign Country

 

 

 

S Aw 01E67, CovrTT

 

 

* Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Lyi Obispo Counties

 

 

Note: In land condemnation cases, use the location of the A of 7 inyelved
X. SIGNATURE OF ATTORNEY (OR PRO PER): _.-f Het £ WA Date o -25- =
Notice to Counsel/Parties: The CV-71 (JS-44) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form, approved by the Judicial Conference of the United States in September 1974, is required pursuant to Local Rule 3-1 is not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet. (For more detailed instructions, see separate instructions sheet.)

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation Substantive Statement of Cause of Action

861 HIA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended.
Also, include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the
program. (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.
(30 U.S.C. 923)

863 DIWC All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as
amended; plus all claims filed for child’s insurance benefits based on disability. (42 U.S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security
Act, as amended. (42 U.S.C. 405(g))

864 SSID All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security
Act, as amended.

865 RSI All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended. (42
U.S.C. (g))

 

CV-71 (05/08) CIVIL COVER SHEET Page 2 of 2
Case 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page 15 of16 Page ID #:15
Name & Address:

Stefan Mahaley
16601 Gala Ave
Fontana, California 92337

 

UNITED STATES QQISTRICT COURT
CENTRAL DIS F CALIFORNIA

 

CASE NUMBER

ee SH,.0V 12° 01460 rss

Ss SUMMONS
« . DEFENDANT(S).

TO: DEFENDANT(S): gs
A lawsuit has been filed against you. we

 

Within 21 days after service of this summons Sant counting the day you received it), you
must serve on the plaintiff an answer to the attached aS nt QO amended complaint
OC counterclaim O cross-claim or a motion under R the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff's attowfyy, Wefan Mahaley, 16601 Gala Ave. , whose address is
Fontana, California 92337 \ . If you fail to do so,

judgment by default will be entered agains or the relief demanded in the complaint. You also must file
your answer or motion with the court.

      

 

 

   

0 Cdl
Woo

  

TERRY NAFISI

Clerk, U.S. District Court

Dated: AUG 2 9 2g

 

[Use 60 days if the defendant is the United States or a United States agency, or is an officer or, va > Of the United States. Allowed

60 days by Rule 12(a)(3)]. Q
&

 

CV-O1A (10/11 SUMMONS
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Ase 5:12-cv-01461-PSG-OP Document1 Filed 08/29/12 Page 16o0f16 Page ID#:

Stefan Mahaley

1660 Gala Ave

Fontana, California 92337

Tel: 310-773-3090

E-mail: smahaley@sbcglobal.net

UNITED STATES DISTRICT COURT
FOR THE CENTRAL DISTRICT OF CALIFORNIA

STEFAN MAHALEY,

COMPLAINT FOR DAMAGES

Plaintiff, CIVIL RIGHTS VIOLATIONS

MICHAEL BAKER #270492

4375 Jutland Drive Suite 200
San Diego, California 92177-
0934

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vs. )
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DIANA SUMMERHAYES
200 West Compton Blvd
Compton, California 90220

CITY OF COMPTON TRIAL BY JURY DEMANDED HEREIN
205 S Willowbrook Avenue
Compton, California 90220

DONNA SEYEDI # 269831

1617 Wollacott St
Redondo, California 90278,

Defendants

 

INTRODUCTION AND OPENING STATEMENT
This is an action brought by Stefan Mahaley against State
Officialsacting under the color of Law, for civil rights

violations involving due process of Law.

COMPLAINT FOR DAMAGESCIVIL RIGHTS VIOLATIONS - 1

 

 
